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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                     )
JANE DOES 1-2,                       )
                                     )
                        Plaintiffs,  )
                                     )
            v.                       )                Civil Action No. 1:25-CV-00234
                                     )
OFFICE OF PERSONNEL                  )
MANAGEMENT,                          )
                                     )
                        Defendant.   )
_____________________________________)


         DEFENDANT’S POSITION ON PLAINTIFFS’ MOTION TO SHORTEN SAFE
                            HARBOR PERIOD
       Pursuant to this Court’s February 24, 2025, Minute Order, Defendant respectfully submits

the following response to Plaintiffs’ Motion: Although Plaintiffs’ Motion to Shorten the Safe

Harbor Period is unusual, Defendant does not oppose the Motion. Defendant intends to file an

opposition to Plaintiffs’ Rule 11 Motion swiftly should Plaintiffs choose to file it.

Dated: February 25, 2025                      Respectfully submitted,

                                              ERIC HAMILTON
                                              Deputy Assistant Attorney General

                                              ELIZABETH J. SHAPIRO
                                              Deputy Branch Director, Federal Programs Branch

                                              /s/ Olivia G. Horton
                                              OLIVIA G. HORTON (TX Bar #24120357)
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